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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

    SARAH PALIN, an individual,
                                                        No. 17 Civ. 4853
                         Plaintiff,
                                                        Hon. Jed S. Rakoff
       – against –
                                                        ECF Case
    THE NEW YORK TIMES COMPANY,
    a New York corporation,

                         Defendant.


               PLAINTIFF’S NOTICE OF OMNIBUS POST-TRIAL MOTIONS

         PLEASE TAKE NOTICE that, pursuant to her correspondence to the Court dated

February 22, 2022, and the Court’s instructions at the telephonic hearing held on February 23, 2022

at 4:00 p.m., Plaintiff, Sarah Palin (“Gov. Palin”), by her undersigned attorneys, moves for the

following relief:

         1.      Disqualification of the Honorable Jed S. Rakoff, U.S. District Judge,
                 pursuant to 28 U.S.C. § 255, retroactive to August 28, 2020, and setting
                 aside and/or vacating the rulings and orders made by the Court during such
                 time, including without limitation the Court’s February 14, 2022 Rule 50
                 decision, Verdict [Doc. 173] and Final Judgment [Doc. 171], as well as
                 granting Plaintiff a new trial.1

         2.      Approval to interview the members of the jury concerning their receipt of
                 push notifications during the trial of this action.2




1
  See e.g., U.S. v. Microsoft Corp., 253 F.3d 34, 107-117 (D.C. Cir. 2001); In re. Boston’s Children
First, 244 F.3d 164 (1st Cir. 2001); Ligon v. City of New York, 736 F.3d 118, 123-127 (2d Cir.
2013), vacated in part on other grounds, 743 F.3d 362 (2d Cir. 2014); In re. IBM Corp., 45 F.3d
641 (2d Cir. 1995); Liljeberg v. Health Services Acquisition Corp., 486 U.S. 847, 863-64 (1988).
2
  See Fed. R. Evid. 606; Bibbins v. Dalsheim, 21 F.3d 13, 17 (2d Cir. 1994); U.S. v. Calbas, 821
F.2d 887, 896-897 (2d Cir. 1987); U.S. v. Loyd, 269 F.3d 228, 237-241 (3d Cir. 2001); U.S. v.
Gaggi, 811 F.2d 47, 51 (2d Cir.), cert. denied, 482 U.S. 929 (1987); U.S. v. Lord, 565 F.2d 831,
838-839 (2d Cir. 1977).
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       3.      Reconsideration, Reargument, and/or Rehearing of the Court’s decision
               granting Defendants’ Motion for Judgment as a Matter of Law under
               Rule 50, Fed. R. Civ. P., announced orally3 on February 14, 2022.4

       4.      Setting aside and/or vacating the Verdict [Doc. 173] and Final Judgment
               [Doc. 171] and granting Plaintiff a new trial under Rules 59 and 60, Fed. R.
               Civ. P.5

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Court’s instructions at the

telephonic hearing held on February 23, 2022, Plaintiff must file her memorandum of law in support

of these motions, not to exceed 50 pages, on or before March 15, 2022. Defendants must file any

opposition papers, not to exceed 50 pages, on or before March 29, 2022. Plaintiff must file any reply,

not to exceed 15 pages, on or before April 5, 2022.

Dated: February 28, 2022.                      /s/ Shane B. Vogt
                                               Kenneth G. Turkel (admitted pro hac vice)
                                               Email: kturkel@tcb-law.com
                                               Shane B. Vogt (admitted pro hac vice)
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                                               TURKEL CUVA BARRIOS, P.A.
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                                               Tampa, Florida 33602
                                               Telephone: (813) 443-2199
                                               Facsimile: (813) 443-2193

                                               and



3
  At the February 23, 2022 hearing, the Court announced it would enter a written order granting
Defendants’ Rule 50 Motion on March 1, 2022. This Notice is being filed to ensure compliance
with the deadlines set forth in Local Civil Rule 6.3, based on the Court’s oral pronouncement of it
ruling on the Rule 50 Motion on February 14, 2022. However, Plaintiff’s Motion includes
reconsideration of any subsequent written orders entered by the Court.
4
  See e.g. Munafro v. Metro. Transp. Auth., 381 F.3d 99, 105 (2d Cir. 2004); Farez-Espinosa v.
Napolitano, 2009 WL 1118098 (S.D.N.Y. Apr. 27, 2009); Hae Suk Bae v. Garvey, 2016 WL
10950009 (S.D.N.Y. Sep. 12, 2016).
5
  See e.g. Raedle v. Credit Agricole Indosuez, 670 F.3d 411, 417 (2d Cir. 2012); Manley v. AmBase
Corp., 337 F.3d 237, 245 (2d Cir. 2003); Stampf v. Long Island R.R. Co., 761 F.3d 192, 203 (2d
Cir. 2014); Pappas v. Middle Earth Condo. Ass’n, 963 F.2d 534, 540 (2d Cir. 1992); U.S. v.
Kozeny, 667 F.3d 122, 130 (2d Cir. 2011); Graham v. City of New York, 128 F.Supp.3d 681, 692-
93 (E.D.N.Y. 2015); Lee v. City of Troy, 339 F.R.D. 346, 370 (N.D.N.Y. 2021).
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                                                Attorneys for Plaintiff




                                  CERTIFICATE OF SERVICE

        I hereby certify that Plaintiff’s Notice of Omnibus Post-Trial Motions was filed
electronically on February 28, 2022. This Notice will be sent by operation of the Court’s electronic
filing system to counsel of record for all parties as indicated on the electronic filing receipt. Parties
and their counsel may access this filing through the Court’s system.

                                                        /s/ Shane B. Vogt
                                                        Attorney




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